                             STATE OF TENNESSEE
                     Department of Commerce and Insurance
                        500 James Robertson Parkway
                            Nashville, TN 37243-1131
                       PH - 615.532.52609 FX - 615.532.2788
                              Jerald.E.Gilbert@tn.gov

March 27, 2015



Usable Life Insurance Company                        Certified Mail
2908 Poston Avenue, % Corp. Svc. Co.                 Return Receipt Requested
Nashville, TN 37203                                  7012 3460 0002 8948 3504
NAIC # 94358                                         Cashier # 19341


Re:   Bentina Duck V. Usable Life Insurance Company

      Docket # 24258


To Whom It May Concern:

Pursuant to Tennessee Code Arinotated § 56-2-504 or § 56-2-506, the Department of
Commerce and Insurance was served March 27, 2015, on your behalf in connection with the
above-styled proceeding. Documentation relating to the subject is herein enclosed.


Jerald E. Gilbert
Designated Agent
Service of Process

Enclosures

cc: Circuit Court Clerk
    Jefferson County
    P O Box 671
    Dandridge, Tn 37725




Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 1 of 41 PageID #: 4     A
                STATE OF TENNESSEE                             COURT (,tiriest be eon,pteted)                    COUNTY(Mast be
                                                               Circuit                                                 Jefferson
                                                                                                                 compteted)


                                                                                                                 ffle n  Q—U A
                                                                                                                 (17ust be e0nipleted)
                                                         SUMMONS
                                                                                                                 division ~
                                                                                                                          ~~.
                                                                                                                 lar    coanlies on1
            Plairitiff   (Nante: First, dliddte, Last)                             Defendant (Na„te: First, Middle, Last)

           BENTINA DUCK                                                            USABLE LIFE             ' ST


           TO: The Defendant Named Above                              a[,qlternative 1:


0
                                                                      o jAlternative 2: etnployer's
                                                                                                                                         ~


                                                                      qQAlternative 3: other suitable address]



                                                _      _500_Jamesl3oberts_onParkwav Suite 660.                                           -
                                                          Na hville, TN 37243-1121
              You are hereby commanded to answer and n~a~e defense to a Complaint which has
          been filed in this case. Your defense to this Complaint must be filed in thd office of the
          clerk of this court on or before 30 days after service of this Sutnmons upon you. If you
          fail to do so, judgmeint by default will be taken against you for the relief demanded in the
          Complaint.
0

               WIT ESSED and issued this ~
          20




      .                                                               y

                                                                                            Deputy Clerk


          Received this                                                          day
          of                                             .20

                                                                    lsl


                                                                                          Deputy Sheriff
    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 2 of 41 PageID #: 5
          STATE OF TENNESSEE
          COUNTY OF

                  I certify that the foregoing is a true and correct copy of the original Summons
          issued in this case.



                                                                        Name and Title of Clerk
                                                       ay

                                                                          Deputy Clerk

                                           OFFICER'S RETURN

                  1 certify that I have served this Summons together with the Complaint as follows;
0
                  On                                             , 20      , I delivered a copy of the
                  Summons and Complaint to the Defendant.




             J,
•




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 3 of 41 PageID #: 6
                IN THE CIRCUIT COURT OF JEFFERSON COUNTY, TENNESSEE
                                   AT DANDRIDGE

        BENTINA DUCK,

                 Plaintiff,                                   JURY DEMAND
                                                                              ~
        V.                                                    NO.: aq a,04        ~T~

        USABLE LIFE,

                 Defendant.                                                                      ~

                                               COMPLAINT
                                                                               9 ~.:~i'%K,,~:''~~`1~ 5 0
                 COMES the Plaintiff, Bentina Duck, (hereinafter
(
        undersigned counsel of record, and hereby brings the following

        Defendant USAble Life, stating as follows:                                               ~


                                                 PARTIES

             l. At all relevant times Plaintiff was and 'is an adult resident of the State of

                 Tennessee.

             2. Plaintiff alleges upon information and belief that Defendant USAble Life is an

                 insurance company authorized to transact the business of insurance in this state.

(            3. Plaintiff alleges upon information and belief that Defendant USAble Life was the

                underwriter for Policy Number 6003-DI1/2 (hereinafter "Policy"), which was

                originally issued to Plaintiff in the State of Tennessee, and which is administered

                by Defendant USAble Life.

             4. Plaintiff alleges upon information and belief that Defendant USAble Life may be

                served with process by serving the Commissioner.of the Tennessee Department of

                Commerce and Insurance, 500 James Robertson Parkway, Suite 660, Nashville,                 ~

                Tennessee 7243-1121.
             i=1LED           1
                 /~ ~                 2~~
                                       )
                                       --___
          AT        ~[            O'CLOC M           1
              PENNY O. MURPHY, CLE
    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 4 of 41 PageID #: 7
                                      JURISDICTION AND VENUE

           5. This is an action for damages for failure to pay benefits under an insurance policy

               and other related claims over which this Court has jurisdiction.

           6. Venue is proper in Jefferson County, Tennessee.

                                                  FACTS

           7. At all relevant times Plaintiff was a teacher for Jefferson County School System,

           8. While Plaintiff was employed by Jefferson County School System, said entity

               purchased a disability insurance Policy from Defendant USAble Life.

           9. Plaintiff applied for coverage, was accepted, and was thereafter covered under

              said Policy with'a coverage effective date of July 1, 1999.

           10. Plaintiff's employment at the time the Policy was issued and at the time she

              became disabled was as a teacher as she was hired by Jefferson County School

              System on a full-time basis on October 31, 1994.

           11. All premiums have been paid and Plaintiff has satisfied all the requirements for

              coverage under the -above Policy, which is a contract for insurance.

f          12. Plaintiff, while covered under the Policy, suffered from and/or developed, inter

              alia, fibromyalgia and interstitial cystitis on or about August 1, 2013, or

              thereafter, which caused then and/or subsequently, inter alia, pain, fatigue,

              physical restrictions and/or limitations, and problems with concentration or

              memory, all of which interfered with her abilitI to work, and ultimately caused

              her to become disabled.

           13. On or about August 1, 2013, PlaintifP's medical condition caused her to have a

              complete inability to perform either the material and substantial duties of her




                                         'p)
    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 5 of 41 PageID #: 8
              occupation on a full-time basis or to perform with reasonable continuity all of the

              material and substantial duties of any other occupation for which she is fitted by

              training, education, experience, age and physical and mental capacity, at which

              time she suffered a significant loss of earnings, and subsequently for which she

              has been unable to earn any income.

           14.On or about August l, 2013, Plaintiff applied for benefits under the Policy by

              submitting an insured's statement and, thereafter, by submitting, inter alia, the

              following: medical records covering the period from 1VIarch l, 2008, through

(             October 7, 2014, as well as a September 23, 2013, attending physician's statement

              by Emmett S. Manley, M.D. (Board Certified iri Family Practice Medicine), and a

              September 5, 2014, opinion letter from William M. Bell, III, M.D. (Board

              Certified in Rheumatology), which demonstrate the Plaintiff's impairments and

              disability.

           15.Defendant USAble Life initially denied long-term disability benefits on

              December 6, 2013, Plaintiff timely appealed, and on September 30, 2014, USAble

(             Life again denied benefits, and Plaintiff timely appealed.

           16.On December 16, 2014, Defendant USAble Life sent Plaintiff a letter indicating

              that it had again denied coverage for long-term disability benefits.

           17.Plaintiff has not received any benefits due under the Policy, including back

              benefits from August 4, 2013, through the present, as well as future benefits until

              her 65th birthday on October 17, 2037, while Plaintiff remains disabled under the

              terms of the Policy.




                                         3
    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 6 of 41 PageID #: 9
             18. It is the undersigned's current understanding that, if disabled pursuant to the terms

                 of the policy, Plaintiff, who has a birthdate of October 17, 1972, a disability onset

                 date on or about August 1, 2013, whose long term disability benefits became

                 payable on August 4, 2013, is entitled to a$2,000.00 per month gross long term

                 disability benefit, offset by her monthly Social Security disability family

                 maximum benefit of $1,720.00 until May 9, 2020, when her youngest child

                 reaches the age of 18, then offset by her monthly Social Security disability

                 primary insurance amount of $1,147.00, for a net long term disability monthly

(                benefit of $280.00 to May 9, 2020, and then for a net long term disability monthly

                 benefit of $853.00 to age 65 or October 17, 2037, such that she is entitled to

                 $5,527.43 in back benefits, $125,037.06 in fizture benefits (using 3.65 % to

                 discount to net present value), for a total long term disability benefit of

                 $130,564.49.

             19.As Plaintiff's Social Security disability claim is still pending, the value of the

                 contractual benefits without the other income offset in the policy is $3.64,642.20.

f                                                       COUNTI
                                           BREACH OF CONTRACT
                 Plaintiff incorporates the allegations contained in paragraphs 1 through 19 as if

         fully stated herein and further states that:

            20. Under the laws of the State of Tennessee, Plaintiff was covered under the Policy

                and said Policy constitutes a contract for insurance coverage.

            21. Under the laws of the State of Tennessee, Plaintiff made a valid and timely claim

                for benefits under terms of the Policy and Defendant has refused to pay.




                                                         Ll
    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 7 of 41 PageID #: 10
             22. Under the laws of the State of Tennessee, all premiums have been paid and

                 Plaintiff has met all other conditions precedent to have a valid contract for

                 insurance coverage and has satisfied the terms of the contract entitling her to

                 benefits under the contract.

             23. Under the laws of the State of Tennessee, Defendant has breached, and continue

                 to breach, their contractual duties under the insurance Policy by failing and

                 refusing to pay the full benefits owed the Plaintiff and by failing to perform their

                 duties as set out in the contract.

(            24. Under the laws of the State of Tennessee, as a direct and proximate result of

                 Defendant's breach, Plaintiff has suffered, and continues to suffer, substantial

                 damages as previously set forth above.

                                             PRAYER FOR RELIEF
                 WHEREFORE, Plaintiff requests that this Court grant her the following relief in
         this case:

                 That the Court enter judgment in favor of Plaintiff and against Defendant and that

(       the Court order Defendant to perform its obligations under the contract for insurance and

        to pay past due benefits to Plaintiff in an amount equal to the contractual amount of

        benefits to which she is entitled;

                That the Court order Defendant to pay Plaintiff prejudgment interest in all

        benefits that have accrued prior to the date of judgment;

                That the Court order Defendant to pay Plaintiff prejudgment interest on all

        benefits that have accrued prior to the date of judgment;

                That the Court order Defendant to continue paying benefits to Plaintiff until such




                                          E
    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 8 of 41 PageID #: 11
         time as she no longer qualifies for continuation of benefits.

                 That the Court order Defendant to pay Plaintiff's attorneys' fees and costs under

         applicable law, and,

                That Plaintiff recover any and all other relief to which she may be entitled.

         Plaintiff further demands a jury to hear her case.

            Dated this /P day of March, 2015.



                                               Respectfully submitted,
~

                                               BY:    c(
                                                                         (TN A~. Reg. No. 23136)

                                                       700 S. Thornton Averl{ie
                                                       P.O. Box 1607
                                                       Dalton, Georgia 30722
                                                       1-800-317-7723 (toll free)
                                                       1-706-217-6118 (office)
                                                       1-706-217-6880 (facsimile)
                                                       sholliday@mcmahanfirm.com




                                         n.
    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 9 of 41 PageID #: 12
          ~


          UCAbl
            M              e Life
                                                     P.O. BoX 1650 • Little ROck, AR 72203-1650

                  ~®


                                              AN[ENDMENT NO. 'f
          This amendment forms a part of group policy fVo.: 6003-D1112

          Issued to the Poiicyholder: JEFEERSON COUNTY SCHOOLS

         The Group insurance Appiication and the Policy are hereby amended as follows:

                                 VOLUNTARY GROUP LONG TSRM DISABILITY
         AMOUNT OF INSURANCE:
l        The employee's amount of insurance, which is subject ta our approval, is shown in the schedule
         below next to the Plan he selected. At time of claim, this amount may be reduced by other income
         benefits received as shown on page 14. The employee is eligible for any Plan up to, but not
         exceeding, the Plan shown for his monthly salary range at time of application.
          Plan        Monthly Salary*       Manthly         Plan         Monthiy 5alary"           Monthiy
                                            13enefit                                               Benefit
            200        $301   -        $450      $200        3100      $4,651    -    $4,800        $3,100
            300        $451   -       $600       $300        3200      $4,801    -    $4,950        $3,200
            400        $601   -       $750       $400        3300      $4,951   -    $5,100         $3,300
            500        $751   -       $900       $500        3400      $5,101   -    $5,250         $3,400
            600        $901   -      $1,050      $600-      3500       $5,251   --   $5,400        $3,500
            700      $1,051   -      $1,200      $700       3600      $5,401    -    $5,550        $3,600
            800      $1,201   -      $1,350      $800       3700      $5,551    -    $5,700        $3,700
            900      $1,351   -     $1,500       $900       3800      $5,701    -    $5,850        $3,800
           1000     $1,501    -     $1,650     $1,000       3900      $5,851    -    $6,000        $3,900
          1100      $1,651    -     $1,800     $1,100       4000      $6,001    -    $6,150        $4,000
           1200     $1,801    -     $1,950     $1,200       4100      $6,151     -   $6,300        $4,100
          1300      $9,951    -     $2,100     $1,300       4200      $6,301    -    $6,450        $4,200
          1400      $2,101    -     $2,250     $1,400       4300      $6,451    -    $6,600        $4,300
          1500      $2,251    -     $2,400     $1,500       4400      $6,601    -    $6,750        $4,400
          1600      $2,401    -     $2,550     $1,600       4500      $6,751    -    $6,900        $4,500
          1700      $2,551    -     $2,700     $1,700       4600      $6,901    -    $7,050        $4,600
          1800      $2,701    -     $2,850     $1,800       4700      $7,051    -    $7,200        $4,700
          1900      $2,851    -     $3,000     $1,900       4800      $7,201    -    $7,350        $4,800
          2000      $3,001          $3,150     $2,000       4900      $7,351    -    $7,500        $4,900
          2100      $3,151    ,     $3,300     $2,100       5000      $7,501    -    $7,650        $5,000
          2200      $3,301    -     $3,450     $2,200       5100      $7,651    -    $7,800        $5,100
          2300      $3,451    -     $3,600     $2,300       5200      $7,801    -    $7,950        $5,200
          2400      $3,601    -     $3,750     $2,400       5300      $7,951    -    $8,100        $5,300
          2500      $3,751    -     $3,900     $2,500       5400      $8,101    _    $8,250        $5,400
          2600      $3,901    -     $4,050     $2,600       5500      $8,251    -    $8,400        $5,500
          2700      $4,051    -     $4,200     $2,700       5600      $8,401    -    $8,550        $5,600
          2800      $4,201    -     $4,350     $2,800       5700      $8,551    -    $8,700        $5,700
          2900      $4,351    .-    $4,500     $2,900       5800      $8,701    -    $8,850        $5,800


         Elinendment to VLTD-P1.0 (5-95)                                                       DI3/2


    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 10 of 41 PageID #: 13
     ~.W
     nEWWWRWAM
                         ,                             P.O. Box 1650 ~ Little Rock, AR 72203-165f1
     USAble Life
       ~
             ~


       3000 $4,501 - $4,650                       $3,000  5900        $8,851 - $9,000            $5,900
                                                          6000        $9,001 & over              $6,000
    *If there is a reduction or misstatement of salary that results in the employee being ineligible for
    the plan selected, the benefit wiEl be reduced to the highest level the employee is eligible for. Any
    unearned premium will be refunded.
     ELIMINATION PERIOD: Plan I or Plan If as sefected by the employee.
                       Plan 1                           Plan II
                 Accident - 0 days               Accident - 60 days
                   Sickness - 3 days             Sickness - 60 days
     HUMAN ORGAN TRANSPLANT BENEPIT: $50,000
     PRE-EXISTING CONDITIONS EXCLUSIONSILIMITATIONS: 3/12




    This amendment changes your policy. The amendment is valid only if notice is given of
    the amendment and you accept it. Retention of the amendment and payment of the next
    premium due will constitute acceptance of the amendment by you.




    '!'he e.ffective date of this amendinent is                   SEP'I'EIvIBER 1, 2010

    The policy's terms and provisions wi[1 apply other than as stated in this amerndtnerit.
    Dated at                                          this                day of
                              (cih', state)

                 rLF>+ElisOlv cOviv rY scxoOLs                                     USAble Life
                             (Porcyhot(+e,.)
                                                                                    44~ 1
                                                                                        4,
                              (5igttahtre)
                                                                                     President



    rlmendnicnt to VLTD-PI.O (5-95)                                                              D11/2

Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 11 of 41 PageID #: 14
          ~                                                                                 •
          ~                                                 •
                              Lq~~ 320 W. Capitol • P.O. Box 16~0 • E.ittle f~ock, A~R 72203-1650
          US~le                 fl                            (501) 375-7200
           ~                                                  1•801)-646-fl271


                       GROUP LONG TERM I7fSABfL1TY POLIGY



                I'OLICYHOLDER:                                                         PREiVfdUiVl DUE DATE:
                .Iefferson County School                                               First Day of Each Month

                POLICY NUMBER:                                                        RENEWAL DATE:
                6003•-DT1/2                                                           July 1, 2000 and each
                                                                                      Succeeding July 1
                EFFECTIVE DATE:                                                       STATE OF DEI..IVERY:
                July I, 1999                     • TENNESSEE
                                •_s;i:.   .,_~; `.y: • x .
               1VIONTNLY PREMIUM-~ AGE'•RATED 9b oftofal covered payroit permonth.
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                                                       i•—''                                                  •)• —'1)) .
               USAble Life {referred to         )~. t['4•
                                                        ur,)) oi the Com•pany:}•aQrees to pay the
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               bene(its provided b  ig QolicyIin ac cordance with i(s=pravisioris.
                                                                                                    • ..Yi:~'.               ,jj•':
                                    _      y.~_,..Yx J1~~''i5 Y;.•. ~
                                                                                                                   ~.Y ...
               The policy is issued~in con;,id}raiion.pftlie app]icatiQn of~he Policyholder, acopy
               of which is attached;`and of the payment of premiums by`~the'•Policyholder.

               The followina pages.includine-a~ny rlders„endorsements; or• amendments are a part
               of this policy.
                                        '''`:'• - a.:x ';3                                              .
                                                                              :~                ,     C

               This poticy is delivOlz`t''n"And,goveraed by the laws of the 2 overning jurisdiction
               and, ta the extent ap~ltcable,,,by"i'lierEiiiployee•Retireritent:Income SecurityAct of
               1974 (ERISA) and ar~y?~ifii~ii°
                                   ~.~y`f-.•r,"sy        cEiit~nts tlieiel _            ;,°~ ;.y ::~," •
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                                           ~                                  .
                                                                              ~




                                                                                                                       President




                                            Nonparricipatino
                                              Renewable ~
                                  GROUP LONG TERM DISABILITY POLICY


Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 12 of 41 PageID #: 15
                                       .~.                                            ~


                                                POLICY INDEX

                                                                                                       Page

             Section I - Application . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3
             Section 11- Definitions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . &
             Section.ill - Eligibility and Effective Dates . . . . . . . . . . . . . . . . . . . . . 't0
             Section IV -- 8enefits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11
f               l.imitations and r;xclusions:
                Mental liiness Limitation . .... . . . . . . .. . . . . . . . . . . . . . . . . . 17.4
                Human Organ Transp[ant Pre-existing Limita#ion . . . . . . . . . . . . . . 17.17
                General Exciusions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
                Pre-existing Concfition Limitation for Disability Income . . . . . . . . . . 19
             Section V - Termination Provisions . . . . . . . . . . . . . . . . . . . . . . . . . . 20
             Section V! - General Policy Provisions . . .• . . . . . . . . . . . . . . . . . . . . . 22
             Section Vlt - Premiums . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . 27




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 13 of 41 PageID #: 16
                                        .,                                                                     .
          Addendum No. 00'i •to be .,;hed to and made part of the Group Insurance AppP€catiort, VI-MAPP

          Application Ky: Jefferson County School                       Effective: July Z, 1999

                                          VOLUNTARY GROUP LONG TER1U! DlSABILiTY

          AMOUNT OF INSIIRANCE:
          The employee`s amount of insurance, which is subject to our approval, is shown in -the schedule below
          next to the Plan he setected. At time of ciaim, this amount may be reduced by other income benefits
          received as shown on page 14. The employee is elioible for any Plan up to, but not exceeding, the Plan
          shown for his monthfy salary range at time of application.


                                                  Monthly                                            Monthly
              Pian            Monthly Salary''    Benefit        Plan        Monthly Saiary*         BeneFit
              200       1      $301 -- $450        $200         1200         $1,801 - $1,950         $1,200

              300              $451 - $600         0300         1300         $1,951 - $2,100         $1,340                I
     0
              400              $601 - $750         $400         1400         $2,101 - $2,250         $1,400

              500              $751 - $900         $500          500         $2,251 - $2,400         $1,500

              600.            $901 - $1,050        $600     PI600            $2,401 - 52,550         $1,600
              700            91,051 - $1,200       $700         1700         $2,551 , $2,700        41,700

              800            $1,201    $1,350      $800         1800         $2,701 - $2,850        $1,800

              900            $1,351 - $1,500       $900         1900         $2,851 - $3,000        $1,900

             1000            $1,501 - 01,650      $1,000        2000          $3,001 & over         $2,000
             i90Q            $1,651 - $1,800      $1,100

         *If there is a reduction or misstatement-0-satary that results in the employee being ineligible for the
         plan selected, the benefit will be reduced to the highest level the emptoyee is eligible for. Any
         unearned premium will be refunded. *
~
4.                                                                                                                         I
         Et.IMINATION PEFiIOU: Plan T or Pfan 11 as selected by the employee.

                            Plan I                                          Pian 11
                     Accident - 0 days                             Accident - 60 days
                     Sickness - 3 days                             Sickness - 60 days

         i-IUMAIV OFiGAN TRAiIlSPIANT BENFFIT: 050,000

         PRI;-1;XISTING CONp1TiONS:
         If an insured employee becomes disabled due to a pre-Existing condition during the first year after
         becoming covered and that disability exceeds the Flimination Period, we witl pay the regular monthly
         benefit for a period not to exceed one month.
         "Pre-existing Condition" means a diagnosed sickness or injury for which the insured received treatment
         within three {3} rnonths prior to the insured's effective date. The term "pre-existing condition" will also   -
         fnclude any condition which is reiated to any such injury or sickness.
         "Treatment" means consultation, care, or serviees provided by a physician including dFagnostic
         measures and taking prescribed drues and medicines.




     Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 14 of 41 PageID #: 17
                                                                                       E
                                                   SEG`f'IO11i If
                                                   DEFIIVITfONS

    For the purpose af this poticy:

    ACTIVE~EMPLUYMENT means the employee must be woricing:
                                             _.~
         1. for the employer on a ftulf-time active basis and paid regu{ar earnings;

         2. at least the minimum number of hours shown in the application;

        3. at the emptoyer's usual pSace of business; or

        4.   at a iocation to which the empfoyer's business requires the employee to travel.

    ACCIDENT means bodily injury caused by an accident vccurring while this Poiicy is in force and is the
    d'trect cause, independent of disease or bodi4y infirmity, of the loss sustained by the Insured whiie his
   insurance coverage is in force.       -

   ANNUAL SALARY means the insured's earnings in effect. from the empioyer for the twelve month .
   period immediately prior to the date totai disabiiity begins. Annual salary includes earnings from the
   insured's primary occupation, as specified in his application, before any reductions. It does not include
   bonuses, overtime pay, and extra compensation other than commissions. Cornmissions witl be
   averaged over the 12 month period prior to the date total disability begins.

   ANY OCCUPATiON - See definition of Total I)isability or Totaity Disabled.

   APPLICATION is the document showing the etigible classes, the amounts of insurance and other
   relevant information pertaining to the plan of insurance appEied for by the policyholder. This document,
   designated Section 1, is attached.Ig and is part of this policy.

   BASIC MON'i'i-ILY 1=ARNINGS or PRE-aISARILI7Y FARNINGS means the insured's monthly rate of
   earnings from the employer in effect immediately prior to the date total disabifity begins- Sasic            ~
   monthly earnings include earnings from the insured's primary occupation, as specified in hEs
   application, before any reductions. It does not inciude bonuses, overtime pay and extra compensation
   other than cornmissions. Commissions will be averaged over the 12 month period prior to the date
   total disability begins.

   CERTIFICATE means a written statement prepared by the Company including ai1 amendments, riders
   and supplements, if any, set-ting forth a summary of:

        'E . the insurance benefts to which an employee is entit[ed;
        2_ to whom the benefits are payable; and
       3. limitations or requirements that may apply.

   COMPANY, WE, 0[!R, or US means USAble Life, Little Rock, Arkansas_

   CONCURRENT DISABILITY means if total disability resufts from more than one cause at the same time,
   it will be considered the same disability, and the insured will be entitled to only one monthty disability
   benefit.




Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 15 of 41 PageID #: 18
        SECTION I! - DEFIlUIT10NS (continued)


         UISAf31Ll'fY BENEFIT, when used with the tern-i retirement plarr, means rnoney which:

             1. is payable under a retirerrient plan due to disability as defined in that plan; and

             2. does not reduce the amount of money which woufd have been paid as retfrement benefits
                under the ptan if the disabitity had not +accurred. (If the payment does cause such a
                reduction, it will be deemed a retirement benefit as defined in this policy.)   -

         EUGlBILITY bATE means the date an empfoyee becomes elfgible for Insurance under this poficy.
         Cfasses are shown in the application_ An empfoyee is efigibfe to apply for coverage during tfle
        enrofiment per3od apecified by USAble Life.

         E1.IfVfI1VATION PERIOt? means a period of consecutive days of totai disability for witich•no benefit is   `
         payabfe. The efimination period is shown in the application and begins on the first day of total
        disabifity.

             !f the insured returns to work for any 7 or iess days dur7ng the elimination period and cannot
             continae, we will count onfy those days tfhe Fnsured is totaffy.disab3ed to satisfy the efimination
             period.,

        EMPLOYEE means a person in full-tSme actfve empfoyment with the eritployer.

        EfVIPLOYER means the poticyholder and incfudes any division, subsidiary or affifiated company named
        in the appfication.

        ENROLL[ViENT PERIOD is a period of time specified by the Corinpany.

        EVIDENCE OF INSURABILITY means a statement or proof of an empfoyee's medical history upon which
        acceptance for insurance witl be determined by the Company.

~       GRACE PERIOD is the 31 days following a premium due date during which premium payment may be
        made. During the grace period the polJcy shatl continue in force, unless the poficyholder has given the
        insurer written notice of discoritinuance of the poficy.

        GROSS MQNTNLY BEIVEFIT means the insured empfoyee's monthly benefit before any reduction for
        other income benefits and earnings.




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 16 of 41 PageID #: 19
     SECTIOIV 11 - DEFINITIONS icontinued}


     HOME OFFICE means the principal office of USAble Life in Little Rock, Arkansas_

     SICtU`tESS means illness, disease, pregnancy or complicatians of pregnancy. The sickness must begin
     while the employee is insured under this policy.

     IN,3URY means bodily injury resulting directly from an accident and independently of all other causes.
     The injury must occur and disability must begin while the employee is insured under this polFcy.

         Exception: Any disability which begins more than 60 days after an injury will be considered a
         sickness for the purpose of determinine benefits under this policy.

     INSURED means an employee insured under this poliq'r.

     MALE 1'RONOUN whenever used includes the female.

     MONTHLY BI.l11EFIT means the amount payable by the Company to the disabled insured.

     OW1V OCCUPATiQN - See definition of Total Oisability or Totally Disabled.

     PffYSICIAN means a person who:

         7. is licensed to practice medicine and prescribe and administer drugs or to perform surgery; or
         2. is legally qualified as a medical practitioner and required to be recognized under this policy for
            insurance purposes according to the insurance statuteslregulations of the governing
            jurisdiction; and
         3. is not the insured or his spouse, daughter, son, father, mother, sister or brother.

    FLAN rneans this group master poSicy-and-the certificates of insurance provided for your insured
    employees.

    PRE-DISA8ILITY EARNINGS - See definition of 8asic Monthly Earnings.

    RETIREMENT RirNEFfi', when used with the term retirement plan, means money which:

         i. is payable under a retirement plan either in a lump sum or in the form of periodic payments;

         2. does not represent contributions made by an emptoyee {payments which represent employee
            contributions are deemed to be received over the employee's expected remaining iife
            regardless of when such payments are actually received►; and

         3. is payable upon:

             a. early or normal retirement; ar
             b, disability if the payment reduces the amount of money which would have• been paid at
                  the rtiormal retirement age under the plan if the disabiiity had not occurred. {!f the
                  payment does not cause such a reduction, it will be deemed a disability benefit as
                  defined in this policy.}




Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 17 of 41 PageID #: 20
     SECTION 11- tT1;F1NiTlONS (continued)


     RETIREMENT PLAIIE means a plan which provides retirement benefits to empfoyees and which is not
     funded wholly by employee contribu8ons. The term shall not ir►clude: a 401 (k), profit-sharing plan,
     thrift plan, informat salary continuation plan, individual retirement account (IRA), tax sheltered annuity
     tTSAJ, stock ownership ptan, or a non-quaiifietl plan of deferred compensation.

     EMPLQYER'S RI±TlREMENT PLAN is deemed to include any retirement plan:

         1_ which is part of any federal, state, county, municipai or association retirement system; or

         2. for which the employee is eligible as a resuft oF employment with the employer or for which
              the employee is eligible from a union retirement plan.
          •                                                                                                       ~
    TIME EFFECTfVi~ rneans an effective date will start at 12:01 a.m. A termination date wilJ end at 12:00
    rnidnight. Each of these times is Standard Time in the place where the policy is delivered. Insurance
    under the poticy will start and end at these times.

    TaTAL COVERED PAYROLL is the total amount of basic monthly earnings for which all empioyees are
    insured under this policy.




Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 18 of 41 PageID #: 21
        SECTI{)N 11- i3Eflf1lITIONS (continued)


        A!1 ful!-tirrte active employees whose annuat salary is $30,000 or more per year are eligible for a 60
        Month Dwn Occupation Benefit. {See A befow under Tota} Disabiliiy or Totaliy Disabled_)

        All other fu1E-time active employees are eligibfe for a 24 Month 4wn Occupation Benefit. (See 8 below
        under TotaE Disability or Totally Disabled.)


        A. TUTAL DISABILITY ar TQTALLY t?ISABLED means during the elimination period and the next 6a•
           consecutive months of disabitity the insured is:

              1. unable to perform alf of the material and substantial duties of his occupation on a fu11-time
(                 basis because of a disability:.                                                                  (
~
                  a.   caused by injury or sickness;
                  b.   that started while insured under this policy; and

             2. after 60 months of benefets have been paid, the insured is unable to perforrn with reasonabte
                  continuity a11 of the material and substantial duties of his own or any other occupation for
                  which he is or becomes reasonably fitted by training, education, experience, age and physicaf
                  and mental capacity.

        S.   TOTAL DISABILITY or TOTALLY DISABLED means durino the eliminafiion period and the next 24
             consecutive rnonths of disabifity the insured is-

             'i. unable to perform aIl of the material and substantial duties o€ his occupation on a futl-time
                  basis because of a disabitity_

                  a: caused by injury oY siekness;--
                  b. that started while insured under this policy; and

~            2. after 24 months of benefits have been paid, the insured is unable to perforrn with reasonable      ~
                 continuity ap of the material and substantiaE duties of his own or any other occupation for
                 which he is or becornes reasonably fitted by training, education, experience, age attd physicaf
                 and mental capacity.

       With respect to insureds employed as pilots, co-pilots and crew of aircraft:

             "Total disability" or "totalfy disabted" rneans because of injury or sickness the insured cannot
             perform the material duties of any gainful occupation for which he is or becomes reasonably fitted
             by training, education or experience. • The loss of a pilot`s license for any reason does not, in
             itself, constitute totaT disability.




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 19 of 41 PageID #: 22
                         Section I!I -- E(igibility and Effective Dates

       A. ELIGIBE.E CI.ASSES

            The ctasses eCgible for insurance are shown in the application.

        S. ELIGIBILITY DATE

            An emptoyea in an eligible class wiil qualify for insurance on the later of:

            1. the policy ef{ective date; or

            2.   during the enrollment period specified by USAble Life.

~       G. EFEfrC7"1VE DATES OF I{VSURAIIICE

            An employee's insurance will be effective at 12:01 a.m. on the first day of the poiicy month
            foilowing the date the appfication is approved by us.

           An employee must use forms provided by us when appfying for insurance.

            The Company may require evidence of insurability with respect to each empioyee.

           13elayed Effective Date of Insurance - The effective date of any initial, increased or addFtional
            insurance wilt be delayed for an emptoyee if he is not in active ernployrnent because of a
           .disability. 7'he initial, increased or additional Fnsurance will start on the date that the employee
            returns to fult-time•active employment.




~




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 20 of 41 PageID #: 23
                                                     SECT[ON IV '
                                                      BE[1[EFITS

         PARTIAL DISABILI'fY or PAFiT1ALLY DISABLED means as a result of the sickness or injury which
         caused total disability, the insured is:

              1. able to perform one or rnore, but not all, of the material and substantial duties of his owrs or
                   any other occupation on a futl-time or a part-time basis; or

              2, abfe to perform all of the materiat and substantial duties of his own or any other occupatiors
                   on a part-time basis.

~        To qttalify for a partial disability benefit the ipsured must be earning iess than 80°h of f►is pre-disability   (
         earnfigs at the time partial disability employment begins.                                                       l

         PARTtAl. ©ISASILITY

         When proof is received that an insured is partially disabled from a sickness or injury fo!lowing a period
         of total disability for which benefits were payable, the Company will pay a partial disability benefit if
         the insured:

              1. is partially disabled within 31 days of the date his total disability benefits cease; and

              2. gives to the Company upon request, and at the insured's expense, praof of continued;

                  a.    partfal disability; and
                  b,    regular attendance of a physician.

         PARTIAL. IDISABILITY RRONTHLY BMEFiT---

         To figure the amaunt of monthly benefit:
~.                                                                                                                        ~
             'f'ake ihe lesser of:

                  a_ The monthiy benefit selected by the emptoyee as shown on his application; or
                  b. 1 QO% of the insured`s pre-disability earnings iess other income benefits shown ort page
                        14.

        The Partial I)isability Benefit will never be less than the rninimum monthly benefit shown in tFie
        application.




     Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 21 of 41 PageID #: 24
                                                               .       .                                   ~




                                                          .                                 ~

                                                  SECTtQN IV .
                                                   BE11[EF1TS


         hft001= RF DISABILI'TY

         When th8 Company receives proof that an insured is disabled under the terms and provisions of this
         policy due to sicknes,s or injury and requires the regular attendance of a ptiysioian, the Company witf
         pay the insured a monthly benefit after the end of thle elimination period. The benefit w31f be paid for
         the period of disability if the Ensured gives to the Company proof of continued:

              9. disability; and
             2. regularattendance of a physician.                                                                   ~
E
         The proof must be gjven upon request and at the insured's expense.

         The monthly benefit will not:

             t. exceed the insured's amount of insurance; or
             2, be paid for Eonger than the maximum benefit period.

         7he amount of insurance and the maximum benefit peiiod are shown in the apAlication_




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 22 of 41 PageID #: 25
    SFCTION Il! - BENEFITS tcontinued?


     MONTHI.Y BENEFIT

      Tha morithty beinefiE vvill be the amount of eoveraee selected by the errzployee as shown on his
   , application less other income benefits shown on page 14. The monthfy beneft for this policy vuili be
      paid on a prorata basis. The rate vvift be 7/30 per day for any period of disability that does not extend
      through a fult month.

    The monthly benefit wilf never be less than the minimum monthly benefit shown in the apptication.




                                                                                   Fi


Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 23 of 41 PageID #: 26
    SEC`f'iOlti1 IV - BEI1tEFITS (continued)   •

    OTi•1ER IINCOiV1E CENEFETS

    Other income benefits mean those benefits shown below:
         i. The arnount of temporary and/or permanent benefitslawards for vuhich the insured is eiigible
            under:
            a_ Workers' or Workmen's Compensation Eaw;
            b, occupational disease law; or
            c, any other act ar law of tike intent.
        2. The amount of any disability income benefits for which the insured is eligible to receive under
             any compulsory benefit act or law.
        3. The amount of any disability income benefits for which the insured is eligible to receive under:     ~
             a,   any other group insurance plan of the employer; or
             b. any governmental retirement system as a result of his job with the employer.
        44. The amount of benefits from the employer's retirement plan the insured:
             a_ receives as disability benefits;
             b. voluntarily elects to receive as retirement benefits; and/or
             c_ receives as retirement benefits when the insured reaches the greater of age 62 orr<orrnal -
                  retirement age, as defined in the retirement plan.
            As used here, "receives" does not include any amount rolled over or transferred to any eligible
            retirement plan as that term is defined in 9402 of the lnternal Revenue Code of 1986 and any
            future amendments to §402 which affect the definition of an eligibie retirement plan.
        5_ The arnount of disability or retirement benefits under the United States Social Security Act,
            The Canada Pension Plan, The Quebec Pension Plan, or any similar plan or act, as follows:
           a. disability or unreduced retirement benefits for which:
                     i.   the insured is eligible; and
                    ii.   his spouse,-chiid--or-children are etigible because of his disability; or
                   iii.   his spouse, child or children are eligible because nf his eligibiEity for unreduced
                            retirement benefits; or
            b. reduced retirement benefits received by:
                    i.    the insured; and
                   ii.    his spouse, child or children because of his receipt of the reduced retirement
                           benefits_
        6. The amount of earnings tlie insured earns or receives from any forrn of employment.
   These other income benefits, except retirement benefits, must be payable as a result of the same
   disability for vvhich we pay a benefit.




Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 24 of 41 PageID #: 27
         SECTION' IV - BHVEFITS (continued)


         COST OF LIVING FREE'LE

         After the first deduction for each of the other income benefits, the monthly benefit wiil not be further
         reduced due to any cost of living increases payable under these other ittcome benefits. This provision
         does not apply to increases received from any form of employment_


         I.f)MP SUM PAYMENTS

         Other income benefits which are paid in a lump sum wiU be prorated on a monthly basis over the time
         period for which the sum is given. If no time period is stated, the sum will be prorated on a monthly
         basis over the expected lifetime of the insured. In each oase, the amount to be prorated will be
~        caiculated by an actuary, based on a morbidity table, with interest, or a mortality tabte, with interest,   d
         depending on the source of the fump sum.


         TERMINATION OF DISA81LITY BENEFITS

         The monthiy benefit wi!l cease on the earliest of:

              I. the date the insured is no ionger disabted underthe terms and provisions of this policy; or

             2_ the date the insured dies; or

             3. the end of the rnaximuin benefit period; or

             4.   the date the insured's current earnings exceed   85%   of his pre-disability earnings.

         NOTE: 8ecause the insured's current earnings may fluctuate, the Company may average earnings
                  over three (3) consecutive rrronths rather than immediateEy terminating hislher benefit once
(                 85% of pre-disability earnings has been reached.                                                   1


         BENEFIT PER1013 EXTENSION

        The maximum benefit period is shown in tFte application. However, benefits will be extended beyond
        the end of the maximum benefit period if a disabled empioyee attains the age specified in the be-nefit
        duration and has nat received twelve monthly benefit payments. In this event, the benefit period will
        be extended during the cantinuance of disability until tweive monthEy payrnents have been paid.




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 25 of 41 PageID #: 28
          SECT10N IV = BENEFITS {continued)
      .                            >
          RI=CURRFNT ©ISA61LlTY rneans a disability which is related or due to the same cause(s) as• a prior
          dsability for whicb a monthly benefit was payable.

          A recurrent disability will be treated as part of the prior disability if, after receiving disabiTty benefits
          under tfiis policy, an insured:.

               7. retums to his regular occupation on a full-time basis for less than three months; and

               2. performs atl the materiat duties of his occupation.

          To qualify for a recurrent d':sabitity benefit, the insured must experience more than a 20% loss of pre-
          disability earnings.                                                                                            f
~                     •                                                                                                   t
          i3enefit payments will be subject to the terms of this policy for the prior disability.

          !f an insured returns to his regular occupation on a full-time basis for three months or more, a recurrent
          disability will be treated as a new period of disabi3ity. The insured must complete another elirnination
          period.

          If an insured becomes eligible for coverage under any other gruup (ong term disabitity policy, this
          recurrent disability section will cease to apply to that insured_




                                                                 0




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 26 of 41 PageID #: 29                       J
         SECTION IV - BENEFITS (continued)


         THREE MONTH SURV111flR BENEFIT
                                                                            ,
         The Company wifl pay a lump sum benefit to the eiigible survivor when proof is received that an           !
         insured died:                                                                                             '

             9. after disability had continued for 180 or more consecutive days; and                               i

             2. whife receiving a monthly benefit.                                                                 ~

         The tump stim benefit wilt be an•amount equal to three times the insured's [ast monthly benefiit.         ~

`        tf payrr=ent becomes due to the insured`s chifdren, payment wiIl be made to;                            ( !

             1. the children; or                                                                                   ;
             2. a person named by the Company to receive payments on the chitdren's behaif. This payntent          i
                will be vatid and effective against atl cfaims by others representing or claiming to represent     ;
                the children.

        tAST MONTHLY BENEFIT rneans the monthfy benefit paid to ihe insured immediateIy prior to his death
        but not including any reduction for earnings received from empfoyment.




f




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 27 of 41 PageID #: 30
        SEOTION !V - BEf1fEFITS (continUed)


        MENTAL ILLNESS LIMITATIOIV

        Benefits for disability due to mental iltness wi11 not exceed 24 months of rnonthly benefit payments
        unless the insured meets one of these situations:

             '!. The insured is in a hospital or insti€ution at the end of the 24 month period. The monthly
                 benefit wilf be paid during the confinement.

                 If the insured is stili disabled when he is discharged; the monthiy benefit will be paid tor a
                 recovery period up to 90 days.

                 If the insured becomes reconfined during the recovery period for at least_ 1.4 days in a row,    (
                 benefits will be paid for the confinement artd another recovery period up to 90 more days.

             2_ The insured contineies to be disabled and becomes contined:

                 a.   after the 24 month period; and

                 b.   for at least 14 days in a row.

                 The monthEy benefit vviil be payable during the confinement.

        The monthly benefit witl not be payable beyond the maximum benefit period.

        HOSPITAL or INSTITOTI011f ineans a facility licensed to provide care and treatment for the condition
        causing the insured's disability.

        MI=1V7•AL Il.l.NESS means disaliit~ y-due4o-ar resulting from psychiatric ar psychological conditions,
        regardless of cause, such as:
             1. schizophrenia;
~            2. depcession;                                                                                       ~
             3. manic depressive or bipolar illness;
             4. anxiety;
             5. personality disorders;
             6. adjustment disorders;
        or other conditions usually treated by a mental heafth provider or other qualified provider using
        psychotherapy, psychotropic drugs or other similar modalities used in the treatment of the above
        cohditions.
        This limitation does nnt apply to dementia, if due to:
            1. strolce;
            2, trauma;
            3, viral infection;
            4. Alzneimer's disease;
        or other such conditions not listed above which are not usually treated by a mental health provider
        using psychotherapy, psychotropic drugs or other similar modalities.




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 28 of 41 PageID #: 31
                                                                                     Aft
                                         ~




      SECTION IV - 8ENEFITS (continued)


      FE!lMAN ORGAIV 7RANSPLANT BENEFIT

      BENEFiT AMOIiNT

      The benefit is shown in Addendum No. t. It is payable in a lutnp sum only.

      T#tAiVSPLANT PROCEDURES

      The foilowing transplant procedures are covered subject to any exclusians, terms, or lirnitations listed
      below:
          Hurnan Organ Transplants: • tieart, Lung (singleldouble), HeartlLung, Liver, Pancreas, and
          Pancreas/Kidney brgan transpiant procedures_ An organ transplant is completely perfarmed if the
          insured empioyee receives the human donor organ_ Transplants of the Kidney(s) only are not
          covered. Multiple organ transptant procedures are not covered except for those specified above.

      1NDEMNITY BENEF(T

      An insured employee sha21 be paid the Benefit Amount if a covered Transplant Procedure is cornpletely
      performed on the insured employee while his coverage under the policy is in force.

      EXTEiVLiE[? BENEFIT

      An additional benefit, equal to the Benefit Amount, sha11 be paid to the insured's beneficiary if the
      insured employee dies after 30 days but within 365 days from the date of a covered Transplant
      Procedure for which an indemnity Benefit is paid if death is due to a transplant related cause_

      MAXIMOM BENEFIT

      Payment of the Iridemnity Benefit shalt not be made more than once to an insured ernployee in his
      iifetime, and payment of the Extended Benefit shall not be made more than once, regardless of the
      number of Transplant Procedures that an insured employee may undergo, or the nurnber of policies he
      may have with us which include this benefit.

      PAYMI_fVT OF BEiVEFITS

     Any benefits vrhich become payable stta#1 be pa3d to the insured employee, if living, otherwise to his
     designated beneficiary or to his estate if no beneficiary is designated.

     PRE-E7USTING LIMITATIC?N

     auring the firsttwetve months of any insured errrployee's coverage, the human organ transplant benefit
     witf not be payable for conditions pre-existing within a twelve month period immediatety preceding the
     insured employee's effective date of insurance. A pre-existing condition means a physician has
     considered, recommended, approved and/or scheduled transplant within the twelve month period
     irnmediately preceding the insured employee's eEfective date of coverage.




Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 29 of 41 PageID #: 32
        SEC'FfON N - BENEFITS (continued)


        GEN3`RAL EXCLUSIONS

        i'his policy witE not cover any disability due to:

            i. war, dectared or undeclared, or any act of war;

            2. intentionally self inflicted in}uries;

            3. active participation in a riot;

            4. 'the commission or attempted commission of a fetony by the insured.


        PARTICIPA7lON shaN inctude promoting, inciting, conspiring to promote or incite, aiding, abetting, and
        atE forms of taking part in, but shall not include actions taken in defense of pub{ic or private property,
        or actions taken in defense of the person of the insured, if such actions of defense are not taken
        aga'inst persons seekinQ to maintain or restore law and order including but not limited   to police offacers
        and firemen.

        RIO'f' shatl include all forms of public violence, disorder or disturbance of the public peace, by three or
        more persons assembled together, whether or not acting with common intent and whether or not
        damage to persons or property or unlawfu) act or acts is the intent or the consequence of such
        disorder.




t                                                                                                                      <




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 30 of 41 PageID #: 33
     SEG710N IV - BEIIIEFI7S (continued)


     PRE-EXtSTING CONDITION LlMtTAT10N EOR DISABILITY INCOME BENEFtTS

     If an insured ernployee becomes disabled due to a pre-existing condition duringi the first year after
     becoming covered and that disability exceeds the eFirnination period, we will pay the regufar monthty
     benefit for a period not to exceed one month.


     PRE-EXtSTIN6 CONDi710N means a diagnosed sickness or injury for which the insured received
     treatment within three (3) rnonths prlor to the insured's effective date. The term "Pre-exFsting
     Condition" u+ilf also include any condition which is related to any such'injury'or sickness-

     TREATMENT means consuttation, care or services provided by a physic7an inctuding dlagnostie             `-
     measures and taking prescribed drugs and medicines.                                                     t




Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 31 of 41 PageID #: 34
                                                  sEcT1OiV v
                                      TERMItVATlO11t #'ROVlSlQNs

        A. TEI3MINAT1ON Of' EMPI.OYEE'S'INSURANCE

            An emp[oyee wili cease to be insured at 12:00 midnight on the earliest of the following cfates:

                1. the date this policy terminates but without prejudice to any cEairn originating prior to the
                    time of.lermination;

                2. the date the empfoyee is no longer in an eEigible class;

                3. the date the employee's class is no longer incfuded for insurance;

i               4, tfie tast day for which any required emptoyee contribution has been made;                      !

                S. the date the employee has served on fufi-time active duty #or more than 30 days in any
                    Armed Forces, including the National Guard or Military Reserves;

                6. the date employment terminates. Cessation of active employment wiEt be deemed
                    termination of employment, except-.

                   a. the insurance w(ill be continued fior an emptoyee absent due to total disability during:

                           i.    the elimination period; and
                          ii.    the period during which premium is being waived.

                   b. the employer may choose to continue the empioyee's insurance by paying ihe required
                        premium, subjedt to-the-fo[kawing:

                           i_ insurance may be contFnued for employees who are temporarily laid off or
!                               given a leave of absence, but not beyond the_end of the month foliowing the       ~
l                               month the iayoff or leave of absence begins;

                          ii.    the employer rnust act so as not to discriminate unfairly among emptoyees in
                                 similar situations; and

                          iii. premiums for continuation of coverage rnust be paid by or through the
                                . employer.

               7. the date the employee ceases active work due to a labor dispute, including any strike, work •
                   sfowdown, or lockout.

        7he Company reserves the righL to review and terrninate ali cEasses insured under this policy if any
        class(es) ceasets) to be covered.




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    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 32 of 41 PageID #: 35
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                                           •                                         •
        SECTION V -TERA111NATION PROVtSIONS (continued)


        S. TERMINATION OF POUGY

           1. Termination of this poEicy under any conditions wiii not prejudice any claim which occurs white
              this policy is in force.

           2. ff the policyholder fails to pay any premium within the grace period, this poficy wili terminate
              at 12:00 midni©ht of the last day of the grace period. The policyholder may terminate this
              poficy by advarEce written notice de#ivered to the Company at feast 31 days prior to the
              terrnination date. But, this policy wi!{ not terminate during any period for which premiurn has
              been paid. The poticyholder will be liable to the Company for atl premiums due and unpaid #or
              the fulf period for which this policy is in force.

~          3. The Company may terminate this pfllicy on any premium due date by giving written notice to         ~
              the poticyholder at least 31 days in advance if:

              a_ the number of emptoy,ees insured is less than ten (10); or

              b. the policyholder faits:

                      i.   to fiurnish promptly any information which the Company may reasonabfy require;
                           or

                     ii.   to perform any other obtigations pertaining to this policy.

           4. Termination may take effect on an earlier date when both the poficyholder and the Company
               agree.




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 33 of 41 PageID #: 36
                                         sEcTIoN l/f
                                 GENER,AL Po1L1CY PRaV1sdUNs

         A. STATEMENTS

            in the absence of fraud, all statements • rnade in any signed application are consldered
            representations and not warranties (absolute guarantees). No representation by:

            i. the policyholder in applying for this policy will make it void unless thp representation is
                contained in the signed application; or

            2. any employee in apptying for insurance under this policy wi!l lOe used to reduce or deny a claim
                unless a copy of the application for insurance, signeif by ths employee, is or has been given
(               to the employee.                                       '                                             (

         B. COMPLEi'E COi1tTRACT - POlICY CHAiVGES

            1. 7'his policy is the complete contract. It consis-ts of:

               a. all of the pages;

               b_ the attached signed application of the policyholder;

               c_ each employee's signed apptication for insurance {emptoyee retains his own copy}.

            2. 7'he policy may be amended at any time by written agreement between the policyholder and
               the Company. Only an officer of the Company can approve a change in the policy,

            3. Any other person, inclu • ing-an ageut, may not change this poticy or waive any part of it.

        C_ EMP[.OYEE'S CERTiFICATE

l          The Company vvill provide a certificate to the poticyhofder far deiivery to each insured. It will state
           the benefits to which the irisured is entitled and to 'whom these benefits are payable. Pf the terms
           of a certificate and this poticy differ, this policy wiil govern.




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 34 of 41 PageID #: 37
        SEC710N VE - GE7VFRAL pOUCY hFiOVISIONS (continued)


         D. Ft7RN15HING OF INFORMATIO)U - ACCFSS TO RECaRDS

           1. the ermpfoyer wil( furnish at regutar intervals to the Company:

              a. information relative to employees:

                         i,        who qualifyr to become insured;
                         ii.       whose amounts of insurance change; andlor
                        iii.       whose insurance terminates.

              b. any other information about this policy that may be reasonably required.

~             The employer's records which, in the opfnion of the Company, have a 5earin6 on the insurance            ~
              wiE) be opened for inspection at any reasonable time.

           2. Clerical error or omission will not:

              a. deprive an employee of insurance;
              b. affect an emptoyee's amount of insurance; or
              c. affect or continue an employee's insurance which otherwise would not be in force.

        B. N[ISS7ATFMENT OF AGF

           If an employee's age has been misstated, an equitabte adjustment; wiEl be made in the premium.
           If the asnount of the benefit is dependent upon an employee's age, as shown in the Benefit
           Duration Schedule, the amount of the benefit will be the amount an emp3oyee would have been
           entitled to if his or her correct age were known.
                               .             ••   --~ . ..~.
           iVote: A refund of premium will not be made for a period more than twelve months before the
                  date the Company is advised of the error.

~       F. NQTICE AiVD PROOF OF Cl,AIM                                                                                ~

           i . Notice

              a. Written notice of cEaim must be given to the Company within 30 days of the date of death,
                 the date disability starts, or the date of loss, if that is possibre: If that is not possible, the
                 Company must be notified as soon as it is reasonably possible to do so.

              b. When the Company has the written notice of cf aim, the Company will send the insured its
                 claim forms. If tha forms are not recetved within 15 days after written notice of cfaim is
                 sent, the insured can send the Company written proof of claim without waiting for the
                •form.




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 35 of 41 PageID #: 38
         SEC710N VI - GENERAl: POI.ICY PROVISIONS {continued)


            2. Proof

                a.   Proof of claim must be given to the Company. This must be done no later than 90 days
                     after the end of the elimination period, the date of the insured's death, or the date of loss.

                b. Failure to furnish such proof within such time shalE not invalidate nor reduce any claim if
                   it was not reasonably possble to fumish such proof within such time. Such proof mtest
                   be furnished as soon as reasonabiy possibte, and in no event, except in the absence of
                   tegal capacity of the c(aimant, Eater than one year from the time proof is otherwise
                     required:
                           _,  •a
f               c. Proof of continued disability and regular attendance of a physician must be given to the
                    Company within 30 days of the request for the proof.                                              ~

                d. The proof must cover:

                         i.    the date disabitity started;                             "

                        ii.    the cause of disability; and

                        iii.   the degree of disability.

         G. PHYSICAL EXAMINATION AND AUTOPSY

            The Company, at its own.expense, will have the right and opportunity to have an employee, whose
            injury or sickness is the basis of a ctaim, examined by a physician, vocational expert, or other
            representative of its choice. This right may be used as often as reasonab(y required. We may atso
            have an autopsy made in case-vf• deat#;-unless not altowed by iaw. (Mississippi does not allow
            autopsy.)

f        H. LEGAL p1;OCFEDINGS                                                                                        ~

            A cfaimant or the cfaimant's authorized representative cannot start any tegal action:

            -1. until 60 days after proof of claim has been given; or
            2. more than 3 years (5 years in 1Cansas and Tennessee} after the time proof of claim is required.

        1. TIME OF PAYMENT OF CLAIMS

            When the Company receives satisfactory proof of a disabiiity ineome ctaim, benefits payable under
            this poticy witi be paid rnonthiy during any period for which -the Company is liable. Any balance
            remaining unpaid upon the termination of the period of liabitity wiEt be paid irnmediately upon
            receipt of due written proof.

            When we receive proof of any other loss, we will pay all benefits due.




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 36 of 41 PageID #: 39
     SECTION V! - GENERAt POLICY PROVISIONS (continued)


     J. PAYMENT OF Ct.AIMS
        All benefits are payable to the employee. But if a benefit is payable to an employee's estate, an
        employee who is a minor, or an employee who is not competent, the Company has the right to pay
        up to $1,000 to any of the employee's relatives whom the Company considers entitled. If the
        Company pays benefits in good faith to a relative, the Company will not have to pay such benefits
        again.

        The monthly benefits for.this policy wil! be paid on a prorata basis. The rate will be 9130 per day
        for any period of disability that does not extend through a full rcronth.

     K- ASSIGNMENT
        No assignment of benefits will affect us unless it is in writing on a form acceptabfe to us and a
        copy is given to irs at our Home Office. We take no responsibility for the validity of any
        assignrnent.

     L. CL.AIM REVIEViI
        If a claim is denied, the emptoyee will be given written notice of:
            7. the reason for the denial; and
            2. the policy provision that relates to the denial; and
            3. his right to ask for a review of his claim; and
            4. any additional information that might allow us to change our decision.
        USAble Life shall have authority and full discretion to determine atl questions arising in connection
        with the Pfan benefits, including but not lirrrited to etigibility, beneficiaries, interpretation of Ptan
        language, and findings of fact with regard to any such questions. The actions, determinations, and
        interpretations of USAble Life with respect to all such matters shall be conctusive and binding.
        This means that should there lae`anyqtMstion concerning how the Plan applies:
            9. to any claim for benefits;
            2. concerning an employee's eligibility for Plan benefits;
            3. concerning the determination of benehciaries; or
            4. to any other question or issue, whether one of fact or one of Plan interpretation;
        i1SAble Life is deemed to have the exclusive right and authority to resolve all such questions in the
        exercise of USAble Life's so3e discretion.
        'The employee may, upon written request, read any reports that are not confidential. For a smali
        fee, we wiil make copies of those report's for his use.

     M. R1GHT OF RECOVERY
        If !.T[7 benefits have been overpaid on any claim, it wi8 be required that reimbursement be made
        to USAble Life withirl 60 days, or USAble Life has the right to reduce future benefits until such
        reimbursement is received. USAble life also has the right to recover such overpayment from the
        insured or his estate.

     N. WORKERS' or WORKMEN'S CaIVIPENSATION
        This policy is not in lieu of, and does not affect, any requirement for• coverage by Workers' or
        Workmen's Compensation insurance.




Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 37 of 41 PageID #: 40
     SECT'1DN Vl - GENERAL POLICY PROVISIq11fS tcontinuedf


     O. AGENCY

        For all purposes of this policy, the pofPcyhofder acts on its own behatf or as agent of the employee.
        Under no circumstances wiH the poEicyhofder be deemed the agent of the Company without a
        written authorization.

     P. COt1tFURMITY W17'H LOCAL S'fA'it)TES

        Any provision of this policy whJch, on its Effective Date, is in confiict with the statutes of the
        jurisdiction in which this policy was delivered is hereby amended to conform to the minirnurn
        requirements of such statute.

     Q. UVCOIVTESTABILITY

        The vaEidity oF the policy sha11 not be contested, except for non-payment of premiums, after it has
        been in force for two years from the date of issue. The vaEidity of the policy shall not•be contested
        on the basis of a statement made relating to insurabitity by any person covered under the policy
        after such insurance has been in force for two years during such person's lifetime, and shall not
        be contested unless the statement is contained in a written instrument signed by the person
        making such statement.

     R. lH1SURANCE FRAiJl7

        Warning: Any person who knowingly and with intent to injure, defraud or deceive any insurer,
        makes any ciaim for the proceeds of an insurance policy containing any false, incomplete, or
        misleadFng informat7on may be guifty of insurance fraud and prosecuted.

        We may terminate the coverage•of aRy-insured person if that person has filed a fraudutent clairn
        or statement with us. •

        We may terminate the group policy if the policyholder or his administrator has Eled or assisted with    f
        the filing of a fraudulent ctaim with us.




Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 38 of 41 PageID #: 41
                                                 SECTfOIV Vfl
                                                  PREiVtiUNIS

         A. piiEMIUM RATES

            The inifial premium is determined on the basis of the rates shown on the policy face page.

            The Company may establish new rates for all future premiums as well as the one then due:

            1. when the terms of this poticy are changed;

            2. when a division,'subs€diary, or affiliated company is added to this policy; or

t          3. when the number of lnsured Persons changes by 25% or more from the number insured on the         r
               Policy Effective Date; or

           4. for reasons other than • 4., 2., or 3. above, such as, but not limited to a charnge in factors
               bearing on the risk assumed. But, the rates may not be changed within the first 12 months
               follow'ing the policy ef€ective date.

           lUo prernium may be increased unless the Company notifies the emp[oyer at least 31 days in
           advance. Premium increases rnay take effect on an earlier date when both the Company and the
           employer agree.

        B. 1'AYMENT OF PFtEMIUNIS

           1. Premium payment cafculations will be based on the coverage provided under this policy. Both
              are determined by the definition of basic monthiy earnings.

           2. AII premiums due under this policy, including adjustments, if any, are payable by the employer
              on or before their'rfue dates at the Company's home office. The due dates are specified on
~             the first page of this policy.

           3. Premiums payable to the Company w'sll be paid in United States dollars.
                I



           4. If premiums are payable on a monthly basis, premiums for additional or increased insurance
              becoming effective during a policy month will be charged from the next premium due date_

           5. 7he premium charge for insurance terminated dur+ng a policy month will cease at the end of
              the policy month Fn which such insurance terminates. This rnanner of charging premiurn is for
              accounting purposes only.. It will not extend insurance coverage beyond a date it would have
              otherwise terminated -as shown.in the "Termination of Employee's lnsurance" section of this
              policy.




    Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 39 of 41 PageID #: 42
                                                                                                 ~

        SEGTiON Vil - PREMtUMS (continued)


           $. (f premiurns are payable on other than a monthty basis, premiums for additional, increased,
               redviced orterminated insurance will cause a prorata adJustment onthe next prernium due date_
                                        1
           7. Except for fraud — premium adjustments, refunds or charges will be made onEy for:

              a.   the current policy year; and

              b. the prior policy year.

        C. WAIVER OF PREMIUj1A

           Premium payrnents are waived during any period for which benefits are paya tile. If coverage is to
~          be continued, premium payments may be resumed following a period during which they were              d
           waived.




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     Case 3:15-cv-00155-TAV-HBG Document 1-1 Filed 04/13/15 Page 40 of 41 PageID #: 43
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